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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF NEW YORK
                                   Cynthia A. Platt, Clerk of Court
                   Notice to Debtors Paying the Filing Fee in Installments


Payments sent by mail must be in the form of a money order or cashier's check. Do not send
cash as it is not accepted and will be returned for an alternative form of payment. We
cannot accept debtor checks, including checks created and mailed to us using an online
banking service. Payments made by personal check or checks created by an online banking
service will be returned for replacement.

Make your cashier's check or money order payable to "Clerk, United States Bankruptcy Court".
The use of an incorrect payee will result in your money order or cashier's check being returned
to you for replacement. NOTE: You may incur a fee from the issuer to replace a money order or
cashier's check.

Please PRINT your name and case number in the memo section of your cashier's check or
money order for proper credit to your case. Examples are attached.

Mail your payment to the Clerk's divisional office where your case was filed.

Payments made in person can be in the form of a money order, cashier's check, or debit card.
We cannot accept debtor credit cards for filing fee payments, and CASH IS NOT ACCEPTED
AT ANY OF OUR LOCATIONS. Office locations for paying in person are listed below. Please
refer to our website www.nynb.uscourts.gov for up−to−date office hours.

Albany                       Syracuse                                 Utica
JT Foley Courthouse          Hanley Federal Building                  Alexander Pirnie Federal Building
445 Broadway, Ste 330        100 S. Clinton St., Room 315             10 Broad St., Room 230
Albany, NY 12207             Syracuse, NY 13261                       Utica, NY 13501
(518) 257−1661               (315) 295−1600                           (315) 793−8101


Do not mail your installment payments to the case trustee, as this may cause a delay in
crediting the payment to your case.

All installment payments must be received by the due date for the last installment payment.
Failure to make your installment payments in a timely manner may result in the dismissal of
your case. If you believe you may have difficulty making your payment by the due date, please
call our Albany office and speak with the Financial Department.




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